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 6

 7

 8                         UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10

11      Michael Stokes,
12                             Plaintiff,              Case No:
13
                v.                                     COMPLAINT
14

15      The Midtowne Spa, Inc.                         DEMAND FOR JURY TRIAL
        d/b/a Midtowne Spa
16
        d/b/a Midtowne Spa Denver,
17
                               Defendant.
18

19

20         Plaintiff Michael Stokes (“Plaintiff”), by and through his undersigned
21   counsel, for his Complaint against Defendant The Midtowne Spa, Inc.
22   (“Defendant”) states and alleges as follows:
23                                     INTRODUCTION
24         1.        This action seeks to recover damages for copyright infringement.
25         2.        Plaintiff herein creates photographic images and owns the rights to
26   these photographs which Plaintiff publicizes in order to demonstrate his artistic
27   talents and bring awareness to important social causes.
28

                                                       1
                                            PLAINTIFF'S COMPLAINT
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 1
           3.     Defendant owns and operates a social media account with the name
 2
     of “@MidtowneSpaLA” on Facebook (the “LA Account”).
 3
           4.     Defendant owns and operates a social media account with the name
 4
     of “@Denver.Midtowne.Spa” on Facebook (the “Denver Account”).
 5
           5.     The LA Account and the Denver Account (hereinafter collectively
 6
     referred to as the “Accounts”) are associated with the Defendant.
 7
           6.     Defendant, without permission or authorization from Plaintiff
 8
     actively copied, stored, and/or displayed Plaintiff's photographs on the Accounts
 9
     and engaged in this misconduct knowingly and in violation of the United States
10
     copyright laws.
11
                                          PARTIES
12
           7.     Plaintiff Michael Stokes is an individual who is a citizen of the State
13
     of California and maintains a principal place of business at 1201 Alvira Street,
14
     Los Angeles, in Los Angeles County, California.
15
           8.     Upon information and belief, Defendant The Midtowne Spa, Inc. is
16
     a Colorado corporation with a principal place of business at 615 Kohler Street,
17
     Los Angeles in Los Angeles County, California and is liable and responsible to
18
     Plaintiff based on the facts herein alleged.
19
                              JURISDICTION AND VENUE
20
           9.     This Court has subject matter jurisdiction over the federal copyright
21
     infringement claims pursuant to 28 U.S.C. §1338(a) and 28 U.S.C. §1331.
22
           10.    This Court has personal jurisdiction over The Midtowne Spa, Inc.
23
     because it maintains its principal place of business in California.
24
           11.    Venue is proper under 28 U.S.C. §1391(a)(2) because The Midtowne
25
     Spa, Inc. does business in this Judicial District and/or because a substantial part
26
     of the events or omissions giving rise to the claim occurred in this Judicial District.
27

28

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                                        PLAINTIFF'S COMPLAINT
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 1
                          FACTS COMMON TO ALL CLAIMS
 2
           12.     Plaintiff is a professional photographer by trade who is the legal and
 3
     rightful owners of photographs which it licenses to reputable online and print
 4
     publications.
 5
           13.     Plaintiff has invested significant time and money in building
 6
     Plaintiff's photograph portfolio.
 7
           14.     Plaintiff has achieved international recognition for his photography
 8
     work with wounded veterans.
 9
           15.     Plaintiff has obtained active and valid copyright registrations from
10
     the United States Copyright Office (the “USCO”) which cover many of Plaintiff's
11
     photographs while many others are the subject of pending copyright applications.
12
           16.     Plaintiff's photographs are original, creative works in which Plaintiff
13
     owns protectable copyright interests.
14
            17.    Defendant The Midtowne Spa, Inc. has exclusive access to post
15
     content on Defendant’s Facebook Accounts.
16
            18.    Defendant The Midtowne Spa, Inc. uses its Accounts to advertise
17
     and promote its business whereby it financially benefits.
18
            19.    Plaintiff Michael Stokes authored a photograph of a male model,
19
     Aron Abikzer, partially clothed in military fatigues (“Photograph 1”). A copy of
20
     Photograph 1 is attached hereto collectively as Exhibit 1.
21
            20.    Photograph 1 was registered by the USCO on October 21, 2015
22
     under Registration No. VA 1-977-391.
23
            21.    On October 31, 2021, Plaintiff observed Photograph 1 on the LA
24
     Account in a post dated November 9, 2016. A copy of the screengrab of the LA
25
     Account including Photograph 1 is attached hereto collectively as Exhibit 2.
26
            22.    A copy of Photograph 1 was displayed on Defendant’s LA Account
27
     at          www.facebook.com            at       the         following         URL:
28

                                                    3
                                         PLAINTIFF'S COMPLAINT
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 1
     https://www.facebook.com/MidtowneSpaLA/photos/1156061547804164
 2
     (Exhibit 2-Infringement #1).
 3
            23.   Aron Abikzer is an army veteran. Plaintiff would have never
 4
     authorized or allowed the usage of Aron Abikzer’s image by Defendant.
 5
            24.   Plaintiff Michael Stokes authored a photograph of US Army veteran,
 6
     Colin Wayne, partially dressed in military fatigues (“Photograph 2”). A copy of
 7
     Photograph 2 is attached hereto collectively as Exhibit 1.
 8
            25.   Photograph 2 was registered by the USCO on October 19, 2015
 9
     under Registration No. VAu 1-222-627.
10
            26.   On October 31, 2021, Plaintiff observed Photograph 2 on the LA
11
     Account in a post dated November 10, 2016. A copy of the screengrab of the LA
12
     Account including Photograph 2 is attached hereto collectively as Exhibit 2.
13
            27.   A copy of Photograph 2 was displayed on Defendant’s LA Account
14
     at       www.facebook.com             at       the           following     URL:
15
     https://www.facebook.com/MidtowneSpaLA/photos/1158325184244467
16
     (Exhibit 2-Infringement #2).
17
            28.   Colin Wayne is an army veteran who was injured in Afghanistan who
18
     is a huge social media presence and influencer. Plaintiff would have never
19
     authorized or allowed the usage of Colin Wayne’s image by Defendant.
20
            29.   Further, Defendant’s usage of a wounded soldier to advertise a
21
     Veteran’s Day event so as to be able to sell additional tickets is particularly
22
     egregious.
23
            30.   On November 01, 2014, Plaintiff Michael Stokes authored a
24
     photograph of a topless male model in a white sailor hat (“Photograph 3”). A
25
     copy of Photograph 3 is attached hereto collectively as Exhibit 1.
26
            31.   Photograph 3 was registered by the USCO on October 21, 2015
27
     under Registration No. VA 1-977-391.
28

                                                 4
                                      PLAINTIFF'S COMPLAINT
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 1
            32.   On January 7, 2022, Plaintiff observed Photograph 3 on the Denver
 2
     Account in a post, dated September 1, 2014. A copy of the Denver Account and
 3
     Photograph 3 is attached hereto collectively as Exhibit 2.
 4
            33. A copy of Photograph 3 was displayed on Defendant’s Denver
 5
     account      at     www.facebook.com            at   the     following       URL:
 6
     https://www.facebook.com/Denver.Midtowne.Spa/photos/775961349129336
 7
     (Exhibit 2-Infringement #3).
 8
            34.   Without permission or authorization from Plaintiff, Defendant
 9
     volitionally selected, copied, stored and displayed each of Plaintiff’s copyright
10
     protected photographs (hereinafter collectively referred to as “Photographs”) as
11
     are set forth in Exhibit “1” on the Accounts.
12
           35.    Upon information and belief, the Photographs were copied, stored
13
     and displayed without license or permission, thereby infringing on Plaintiff's
14
     copyrights (hereinafter singularly the “Infringement” and collectively the
15
     “Infringements”).
16
           36.    Each Infringement includes a URL (“Uniform Resource Locator”)
17
     for a fixed tangible medium of expression that was sufficiently permanent or
18
     stable to permit it to be communicated for a period of more than a transitory
19
     duration and therefore constitutes a specific infringement. 17 U.S.C. §106(5);
20
     Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1160 (9th Cir. 2007).
21
           37.    Each Infringement is an exact copy of the vast majority of Plaintiff's
22
     original images that was directly copied and stored by Defendant on the Accounts.
23
           38.    Upon information and belief, Defendant takes an active and
24
     pervasive role in the content posted on its Accounts, including, but not limited to
25
     copying, posting, selecting, commenting on and/or displaying images including
26
     but not limited to Plaintiff's Photographs.
27
           39.    Upon information and belief, the Photographs were willfully and
28

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                                       PLAINTIFF'S COMPLAINT
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 1
     volitionally posted to the Accounts by Defendant.
 2
           40.    Upon information and belief, Defendant is not registered with the
 3
     United States Copyright Office pursuant to 17 U.S.C. §512.
 4
           41.    On information and belief, Defendant engaged in the Infringements
 5
     knowingly and in violation of applicable United States Copyright Laws.
 6
           42.    Upon information and belief, Defendant had complete control over
 7
     and actively reviewed and monitored the content posted on the Accounts.
 8
           43.    Upon information and belief, Defendant has the legal right and
 9
     ability to control and limit the infringing activities on its Account and exercised
10
     and/or had the right and ability to exercise such right.
11
           44.    Upon information and belief, Defendant has received a financial
12
     benefit directly attributable to the Infringements.
13
           45.    Upon information and belief, the Infringements increased traffic to
14
     the Accounts and, in turn, caused Defendant to realize an increase in its service
15
     revenues and/or merchandise sales.
16
           46.    Upon information and belief, a large number of people have viewed
17
     the unlawful copies of the Photograph on the Accounts.
18
           47.    Upon information and belief, Defendant at all times had the ability
19
     to stop the reproduction and display of Plaintiff's copyrighted material.
20
           48.    Defendant's use of the Photographs, if widespread, would harm
21
     Plaintiff's potential market for the Photographs.
22
           49.    After achieving notoriety with the veteran and international armed
23
     forces community, Plaintiff became more selective about when and where he
24
     posts any image depicting or alluding to wounded veterans from any of the armed
25
     services.
26
           50.    The general public familiar with the Plaintiff’s work may assume that
27
     the Plaintiff ‘sold-out’ and licensed images of veterans of war to Defendant which
28

                                                  6
                                       PLAINTIFF'S COMPLAINT
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 1
     profits from being a “club for Gay and Bisexual Men … to enjoy each other’s
 2
     company” or more colloquially a “love hotel.”
 3
           51.    The aforementioned post and/or posts on Defendant’s Accounts not
 4
     only exploits an American service member for hotel bookings but also damages
 5
     the reputation of Plaintiff and photography subject by associating them with
 6
     behaviors they did not wish to endorse or condone.
 7
           52.    As a result of Defendant's misconduct, Plaintiff has been
 8
     substantially harmed.
 9
                                    FIRST COUNT
10               (Direct Copyright Infringement, 17 U.S.C. §501 et seq.)
11         53.    Plaintiff repeats and incorporates by reference the allegations
12   contained in the preceding paragraphs, as though set forth in full herein.
13         54.    The Photographs are original, creative works in which Plaintiff owns
14   valid copyright properly registered with the United States Copyright Office.
15         55.    Plaintiff has not licensed Defendant the right to use the Photographs
16   in any manner, nor has Plaintiff assigned any of its exclusive rights in the
17   Copyrights to Defendant.
18         56.    Without permission or authorization from Plaintiff and in willful
19   violation of Plaintiff's rights under 17 U.S.C. §106, Defendant improperly and
20   illegally copied, stored, reproduced, distributed, adapted, and/or publicly
21   displayed works copyrighted by Plaintiff thereby violating one of Plaintiff's
22   exclusive rights in its copyrights.
23         57.    Defendant's reproduction of the Photographs and display of the
24   Photographs on the Accounts constitutes willful copyright infringement. Feist
25   Publications, Inc. v. Rural Telephone Service Co., Inc., 499 U.S. 340, 361 (1991).
26         58.    As a result of Defendant's violations of Title 17 of the U.S. Code,
27   Plaintiff is entitled to an award of actual damages and disgorgement of all of
28

                                                  7
                                       PLAINTIFF'S COMPLAINT
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 1
     Defendant's profits attributable to the infringements as provided by 17 U.S.C. §
 2
     504 in an amount to be proven or, in the alternative, at Plaintiff's election, an
 3
     award for statutory damages against Defendant in an amount up to $150,000.00
 4
     for each infringement pursuant to 17 U.S.C. § 504(c).
 5
           59.    As a result of the Defendant's violations of Title 17 of the U.S. Code,
 6
     the court in its discretion may allow the recovery of full costs as well as reasonable
 7
     attorney's fees and costs pursuant to 17 U.S.C. § 505 from Defendant.
 8
           60.    As a result of Defendant's violations of Title 17 of the U.S. Code,
 9
     Plaintiff is entitled to injunctive relief to prevent or restrain infringement of his
10
     copyright pursuant to 17 U.S.C. § 502.
11
                                      JURY DEMAND
12
           61.    Plaintiff hereby demands a trial of this action by jury.
13
                                  PRAYER FOR RELIEF
14
           WHEREFORE Plaintiff respectfully requests judgment as follows:
15
           That the Court enters a judgment finding that Defendant has infringed on
16
     Plaintiff's rights to the Photographs in violation of 17 U.S.C. §501 et seq. and
17
     award damages and monetary relief as follows:
18
                  a.     finding that Defendants infringed upon Plaintiff's copyright
19
                         interest in the Photographs by copying and displaying without
20
                         a license or consent;
21
                  b.     for an award of actual damages and disgorgement of all of
22
                         Defendant's profits attributable to the infringements as
23
                         provided by 17 U.S.C. § 504 in an amount to be proven or, in
24
                         the alternative, at Plaintiff's election, an award for statutory
25
                         damages against Defendant in an amount up to $150,000.00
26
                         for each infringement pursuant to 17 U.S.C. § 504(c),
27
                         whichever is larger;
28

                                                   8
                                        PLAINTIFF'S COMPLAINT
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 1
               c.    for an order pursuant to 17 U.S.C. § 502(a) enjoining
 2
                     Defendant from any infringing use of any of Plaintiff's works;
 3
               d.    for costs of litigation and reasonable attorney's fees against
 4
                     Defendant pursuant to 17 U.S.C. § 505;
 5
               e.    for pre judgment interest as permitted by law; and
 6
               f.    for any other relief the Court deems just and proper.
 7

 8   DATED: February 8, 2022
 9                                      SANDERS LAW GROUP
10
                                        By: /s/ Craig B. Sanders
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16                                      Attorneys for Plaintiff
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                                   PLAINTIFF'S COMPLAINT
